Case 2:22-cv-00088-WBV-DPC Document 1-1 Filed 01/14/22 Page 1of 14

    

i) =

CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS @ 2 a

- 2 4 T

STATE OF LOUISIAR a= 4 a

eal Cyt 2 a4
NUMBER: Ao J (_ 10 0.( q DIVISION“ 4 SE “a we.
. watt 4. 1 ¥ s att
5 ue sy pe

’ KELLY P, GIARRATANO
versus

HUNTINGTON INGALLS INCORPORATED (formerly NORTHROP GRUMMAN
SHIPBUILDING, INC., formerly, NORTHROP GRUMMAN SHIP SYSTEMS, INC., formerly,
AVONDALE INDUSTRIES, INC, and formerly AVONDALE SHIPYARDS, INC., formerly
AVONDALE MARINE WAYS, INC.); LOUISIANA INSURANCE GUARANTY
ASSOCIATION; THE TRAVELERS INDEMNITY COMPANY; CERTAIN UNDERWRITERS
AT LLOYD'S, LONDON; and PENNSYLVANIA GENERAL INSURANCE COMPANY
(formerly, American Employers Insurance Company)

FILED:

 

 

DEPUTY CLERK -
PETITION FOR DAMAGES

a

The petition of Kelly P. Giarratano, a person of the full age of majority and resident of the

State of Louisiana, with respect represents:

CHELSEY RICHARD NAPOLEON
CLERK, CML EUS TRICT COURT
The following executive officers of Avondale were diritti ay: in WHEE Parish: C. Edwin
421 LOYOLA AVENUE. ROOM a
Hartzman, Hettie Dawes Eaves; Henry “Zac” CarteZEJUHARMeGMé, arid’ Ewing Moore. Hughie

804. 407 000
Verdoodt and Kelly Giarratano were exposed to asbestes-j Parish, and Kelly Gi
Peng elpt Date TEMS021 122800 Fat
received injury in Orleans Parish. Accordingly, véuevist proper in Orleaks Parish against all
Cashier :

» fbece
defendants pursuant to Louisiana Code of Civil Procedyrerarticles 42, 7a pand J4, Register 4

2, Cazes Number 2021-40019

Defendants, HUNTINGTON INGALLS fNCORPORATED? fishHerly NORTHROP
AmountRaceived $5154 _
GRUMMAN SHIPBUILDING, INC., formerly, NORFHRGR-GRUMMAN SEUP SYSTEMS, INC.,

“ Chyer P ayimant, HBO,

formerly, AVONDALE INDUSTRIES, INC. and-formerly AVOND SHIPYARDS, INC.
Payment? Transaction Lit

formerly AVONDALE MARINE WAYS, INC :reQUISIANA INSURANCE GUARANTY

ASSOCIATION (who has a statutory obligation to the plaintiffs arising out of policies of insurance

. )

iamuee by insolvent insurer, Lamorale Insurance Company); CR eS

COMPANY; CERTAIN UNDERWRITERS AT LOYD S LONDEN: and BEINSYEAANIAS.00 —
, Judicial Collage $0.80 $0.50 $0.00

GENERAL INSURANCE COMPANY (formerlyeuintedeandémployers Inguranse Gorapanyay oo

. oo Indigent Legal Fas $10.00 $40.00 $0.00
(hereinafter collectively referred to as “defendants”),are all corporations incorpor dedunder g elas, no
of the various states of the United States, Defendadii'l Pave Wea" Bithoipal Siac or Buaieds

s essing Fae ;

=i

various states of the United States, as well as some forcign countries. All of them may be served

 
Case 2:22-cv-00088-WBV-DPC Document 1-1 Filed 01/14/22 Page 2 of 14

under and by virtue ofthe Long Arm Statute of the State of Louisiana, either through their authorized
” agents, servants, and/or employees, or through the Secretary of State, State of Louisiana.
3,

Kelly Giarratano was raised by her grandfather, Hughie Verdoodt, from the time she was
born in 1962, Hughie Verdoodt worked with and/or on the premises of Huntington Ingalls
Incorporated (formerly, Northrop Grumman Shipbuilding, Inc., formerly Northrop Grumman Ship
Systems, Inc., formerly Avondale Industries, Inc, and formerly Avondale Shipyards, Inc., formerly
Avondale Marine Ways, Inc.) (hereinafter sometimes “Avondale” or “Avondale Industries, Ine.”)
from 1942 through 1979. From approximately 1962 through 1979, Hughie Verdoodt, the grandfather
of Kelly Giarratano who raised her from the time she was born, was employed in various positions :
by or on the premises of “Avondale”. During this employment, Hughie Verdoodt was exposed to
dangerously high levels of asbestos in the normal routine. course of his work. °

4, .

From approximately 1962 through 1979, while Hughie Verdoodt was a direct employee of
Avondale, Henry “Zac” Carter, Burnette “Frenchy” Bordelon, James O’Donnel, C. Edwin Hartaman,
Albert Bossier, Jr., James T. Cole, Hettie Dawes Eaves, John Chaney, John McCue, Bwing Moore,
Ollie Gatlin, Earl Spéiiner, Steven Kennedy, Peter Territo, rors Kelmell, Edward Blanchard, Dr.
Joseph Mabey, and J. Melton Garrett were executive officers of Avondale with the specific
responsibility for the health and safety of Hughie Verdoodt and his fellow employees during the time
Kelly Giarratano was exposed to asbestos. Henry “Zac” Carter, Bumette “Frenchy” Bordelon, James
O*Donnel, C. Edwin Hartaman, Albert Bossier, Jr., James T. Cole, Hettie Dawes Eaves, John
Chantrey, John McCue, Ewing Moore, Ollie Gatlin, Earl Spooner, Steven Kennedy, Peter Territo,
George Kelmell, Edward Blanchard, Dr. Joseph Mabey, and J. Melton Garrett have since died and/or
cannot be located. Lamorak Insurance Company (as successor in inierest to the liability for policies
of insurance issued by Commercial Union Insurance Company, Employers Commercial Union
Insurance Company), Pennsylvania General Insurance Company (formerly, American Employers
Insurance Company), The Travelers Indemnity Company, and Certain Underwriters At Lloyd’s,
London provided insurance coverage for the liability of the ilove executive officers: Henry
“Zac” Carter, Burnette “Frenchy” Bordelon, James O’Donnel, C. Edwin Hartzman, Albert Bossier,
Jr., James T, Cole, Hettie Dawes Eaves, John Chantrey, John McCue, Ewing Moore, Ollie Gatlin,
Earl Spooner, Steven Kennedy, Peter Territo, George Kelmell, Edward Blanchard, Dr. Joseph

Mabey, and J. Melton Garrett. Pursuant to Louisiana Revised Statute 22:1269, plaintiffs herein

’ ; -2-
Case 2:22-cv-00088-WBV-DPC Document 1-1 Filed 01/14/22 Page 3 of 14

assert a direct action against Pennsylvania General Insurance Company (formerly, American
Employers Insurance Company), The Travelers Indemnity Company, and Certain Underwriters At
Lioyd’s, Londen for the liability of the following deceased executive officers: Henry “Zac” Carter,
Burnette “Frenchy” Bordelon, James O’Donnel, C, Edwin Hartzman, Albert Bossier, Jr., James T.
Cole, Hettie Dawes Eaves, John Chantrey, John McCue, Ewing Moore, Ollie Gatlin, Earl Spooner,
Steven Kennedy, Peter Territo, George Kelmell, Edward Blanchard, Dr. Joseph Mabey, and J.
Melton Garrett. ° .
5.

Lamorak Insurance Company was declared insolvent on March 11, 2021. Plaintiffs now
make claims against Louisiana Insurance Guaranty Association (hereinafter referred to as
“LIGA”), who has a statutory obligation to plaintiff based upon policies of insurance issued by
insolvent insurer, Lamorak Insurance Company, including but not limited to, employers’ liability,

commercial general liability insurance policies and/or excess liability insurance policies covering
the following executive officers of Avondale for the liability asserted herein: Henry “Zac” Carter,
Burnette “Frenchy” Bordelon, James O’Donnel, C. Edwin Hartzman, Albert Bossier, Jr., James
T. Cole, Hettie Dawes Eaves, John Chanter. John McCue, Ewing Moore, Ollie Gatlin, Earl
Spooner, Steven Kennedy, Peter Territo, George Kelmell, Edward Blanchard, Dr. J oseph Mabey,
and J. Melton Garrett.
_ 6.

Additionally, Henry “Zac” Carter, Burnette “Frenchy” Bordelon, James O’Donnel, C.
Edwin Hartzman, Albert Bossier, Jr., James T. Cole, Hettie Dawes Eaves, John Chantrey, John
McCue, Ewing Moore, Ollie Gatlin, Earl Spooner, Steven Renneay, Peter Territo, George
Kelmell, Edward Blanchard, Dr. Joseph Mabey, and J. Melton Garrett were insured by American
Motorists Insurance Company and Highlands Insurance Company for the liability asserted herein, —
and plaintiff asserts a claim against Avondale for this liability pursuant to a buy-back contract

\and agreement. :
7. ‘ ,
~ Under a buy-back contract and agreement between Avondale and American Motorists
Insurance Company, Avondale is an additional insurer under the American Motorists Insurance
Company policies providing coverage to Avondale and its executive officers and employees for
the liability asserted in plaintiffs’ petition. The plaintiff asserts.an action against Avondale

pursuant to this contract and agreement pursuant to La. Civil Code articles 1821-1823.

-3-
Case 2:22-cv-00088-WBV-DPC Document 1-1 Filed 01/14/22 Page 4 of 14

8.

Under a buy-back contract and agreement between Avondale and Highlands Insurance
Company, Avondale is an additional insurer under the Highlands Insurance Company policies
providing coverage to Avondale and its executive officers and employees for the liability

- asserted in plaintiffs’ petition. The plaintiff asserts an action against Avondale pursuant to this
| contract and agreement pursuant to La. Civil Code articles 1821-1823.
9.

Also, Avondale is vicariously liable for the acts of its exécutive officers: Henry “Zac”
Carter, Burnette “Frenchy” Bordelon, James O’Donnel, C. Edwin Hartzman, Albert Bossier, Jr.,
James T. Cole, Hettie Dawes Eaves, John Chantrey, John McCue, Ewing Moore, Ollie Gatlin,
Earl Spooner, Steven Kennedy, Peter Territo, George Kelmell, Edward Blanchard, Dr. Joseph
Mabey, and J. Melton Garrett,

10.

On a daily basis during the employment of Hughie Verdoodt, Kelly Giarratano was ;
exposed to dangerously high levels of asbestos through contact with him as well as through the
handling and washing of his clothes and other objects belonging to him as well as being in the
area of others washing and handling his dinthes and other objects belonging to him.

11.

As a result of these exposures to asbestos, Kelly Giarratano contracted cancer, asbestos- -
related lung cancer, and other related ill health effects associated tere which was first
diagnosed of approximately August 12, 2021.

12.

Hughie Verdoodt was employed iL various positions by or on the premises of Avondale
which resulted in asbestos exposure to Kelly Giarratano. Avondale and its executive officers
were aware or should have been aware of the dangerous condition presented by exposure to
asbestos to Mr. Verdoodt and to his family members and to those who frequented his home.

-Avondale and its executive officers were aware or should have been aware that Kelly Giarratano
(and other similarly situated family members of thelr working force) would suffer fromy asbestos-
related diseases and other ill health effects associated therewith as a result of this exposure, but
Avondale failed and/or willfully withheld from them knowledge of the dangers from exposure to

asbestos fiber,
Case 2:22-cv-00088-WBV-DPC Document 1-1 Filed 01/14/22 Page 5of 14

ay

13.
In addition to the foregoing acts of negligence and intentional concealment, Avondale and —
its executive officers are guilty of the following:

a) Failing to reveal and knowingly concealing critical medical information from
Hughie Verdoodt and Kelly Giarratano, including the ability to expose family
members to asbestos through the clothing of its workers:

b) Failing to reveal and knowingly concealing the inherent dangers in the use of
asbestos, and other harmful substances in their manufacturing process and/or
in connection with the work which exposed Hughie Verdoodt and Kelly

Giarratano; )

c) Failing to provide necessary protection to Hughie Verdoodt and Kelly
Giarratano;

d) Failing to provide clean, respirable air and proper ventilation;

e) Failing to provide necessary showers and special clothing;

f) Failing to segregate work areas so that workers would not be exposed to
deadly asbestos fiber; . .

g) Failing to provide necessary and adequate respiratory protection;

h) Failing to warn employees of the dangers associated with exposure to
asbestos;

i) Failing to use non-asbestos containing products on jobs where non-asbestos
containing products were specified.

jd Wanton and reckless disregard in the storage, handling, and transportation of
asbestos; ; :

kj Requiring employees to dispose of asbestos in dumpsters, into the river, and
onto the land instead of properly disposing of asbestos and asbestos fiber, _
thereby further exposing employees (and subsequently their family members)- a
to asbestos;

} Requiring employees to dispose of asbestos under buildings instead of
properly disposing of asbestos and asbestos fiber, thereby further exposing
employees (and subsequently their family members) to asbestos; ‘

m) ' Failing to warn of the dangers of exposure to asbestos;

n) Requiring employees to dispose of asbestos without precautions to prevent
exposure;

0) Failing to post warnings regarding asbestos and the hazards of same;

p) Failing to warn employees that exposure to asbestos could cause deadly
diseases including mesothelioma, cancer, asbestosis, pleural thickening, and
pleural plaques; and

q) Failing to warn employees of the invisible nature of harmful asbestos, that it
could be carried home on clothing and other objects by a worker, and that it
could cause diseases such as asbestosis, pleural plaques, pleural thickening,
cancer, and mesothelioma. :

These defendants committed these negligent and intentional acts knowing full well that Kelly
Giarratano’s injuries would follow or wete substantially certain to follow.

- ‘ -5-
Case 2:22-cv-00088-WBV-DPC Document 1-1 Filed 01/14/22 Page 6 of 14

14. “

Avondale had the responsibility of providing Hughie Verdoodt with a safe place to work and
safety equipment with which to conduct his work; however, he negligently and/or intentionally failed
to carry out these duties and failed to protect them fio the dangers of toxic fiber and dust exposure
knowing full well or being substantially certain that certain family members of workers, including ’
Kelly Giarratano, would develop disease as a result thereof.

15.

Avondale had care, custody, and control of the asbestos, which asbestos was defective and
which presented an unreasonable risk of harm, which asbestos resulted Kelly Giarratano’s asbestos-
related lung cancer and for which these defendants are strictly Hable under Louisiana law.

16.
Defendant, Avondale, is responsible for the conduct of those individuals and companies
- working on their premises with asbestos products which resulted in exposure to asbestos to Kelly
Giarratano, which asbestos was defective and which presented an unreasonable risk of harm, and
which asbestos resulted in her asbestos-related Jung cancer, and for which defendant is liable under
Louisiana law. .
17.

Avondale failed to exercise reasonable care for the safety of persons on or around their
property and failed to protect the Hughie Verdoodt and Kelly Giarratano from HhecumensondBly
dangerous conditions created by asbestos which existed due to theit failure to properly handle and
control the asbestos which was in their care, custody, and SRIEIO: At all times material herein,
standards were in existence, including the Walsh Healey standards and Louisiana Sanitary Code -
Industrial Health Standards, which required Avondale herein to provide Hughie Verdoodt and his
co-workers who handled or were.exposed to harmful material with protection from the harms of
asbestos. Avondale failed and/or willfully refused to comply with these standards thereby resulting
in exposure to asbestos to the Mr. Verdoodt, thereby resulting in injury to Kelly Giarratano.

18. ,

The defendants, including Avondale; ster informed that asbestos diet presented health ~
risks by the U.S. Government or agencies acting on behalf of the U.S. Government no later than
1942. The U.S. Government issued advisories, through the U.S. Maritime Commission and the

- Walsh Healey Public Contracts Act, to all government contractors regarding their findings of

enumerated health risks in the work place. During the 1950s, the Department of Defense adopted

-6-
Case 2:22-cv-00088-WBV-DPC Document 1-1 Filed 01/14/22 Page 7 of 14

+

and distributed to all government contractors, safety standards that pertained to the use of these
defendants' products in various work places. In 1952, Louisiana adopted a workers ° }
_compensation remedy for asbestosis. In the 1950s, the Walsh-Healy Act was promulgated,
which adopted safety standards and regulations regarding asbestos dust. Also, in the 1940s,
Louisiana adopted safety standards and regulations regarding asbestos pursuant to the Louisiana
Sanitary Code’s Industrial Health standards. Based on information and belief, each of these
companies, their predecessor, and executive officers were made aware of these findinigs at the
time they were issued, This was done without warning to plaintiff and without the knowledge on
the part of the plaintiff that she was in danger. On a daily basis during his employment at
Avondale, Hughie Verdoodt was exposed to asbestos being used and handled on vessels at
Avondale, including commercial and government vessels at Avondale. Accordingly, Kelly
Giarratano was exposed to ssbestas fora the person, clothing, and other objects-of her
grandfather, Hughie Verdoodt, from asbestos which had been used and/or was to be used on the 6
vesssels, which included commercial and government vessels at Avondale. This exposure °
occurred because Avondale and its executive officers failed to comply with these safety standard
identified herein. They failed to properly handle and control the asbestos. Avondale and its
executive officers are liable for the misuse of asbestos, including but not limited to the failure to
warn of the hazardous nature and dangers of asbestos and for the failure to take and implement
reasonably safe and industrial hygiene measures, failure to train, and failure to adopt safety
procedures for the safe installation and removal of asbestos.

_ 19.

Prior to the time Kelly Giarratano was exposed to asbestos, all defendants were aware or
should have been aware of the health hazards associated with exposure to asbestos, including but
not limited to pleural plaques, fibrosis, asbestosis, cancer, and mesothelioma. Further, all
defendants ‘were aware or should have been aware that invisible asbestos particles could remain:
airbome for many hours and that exposure could occur even after actual use of the products

ceased; nevertheless, defendants remained silent as to the unreasonably dangerous nature of the

products which suppression of the truth was thade with the intention of obtaining an unjust

_ advantage over unsuspecting victims. Such conduct constitutes fraud under Louisiana law. |

20.
£ x
All defendants made the misrepresentations cited in the foregoing paragraphs despite

"their knowledge of the falsity, and defendants fraudulently concealed and suppressed the truth -

=e
Case 2:22-cv-00088-WBV-DPC Document 1-1 Filed 01/14/22 Page 8 of 14

1

about the dangerous nature of the products with the intent to induce purchasers to buy the
products and innocent users and employees to continue to be exposed to same without concem
for their health.

21.

As a result of the misrepresentations of the defendants that asbestos-containing products .
were safe, nontoxic, fully tested, desirable, and suitable for use, and as a result ofthe defendants  ‘
suppression of the truth about the health hazards associated with exposure to said products,
Hughie Verdoodt and Kelly Giarratano were exposed, and as a result Kelly Giarratano contracted
asbestos-related lung cancer, which was diagnosed on approximately August 12, 2021.

° 22.

The misrepresentations and suppression of the truth of occupational health hazards were
made by all defendants with the intent of obtaining an unjust advantage over Kelly Giarratano,
and other family members of employees who remained uninformed and ignorant of the risks of
contracting eccupational lung diseases from their work environment. These mistepréséntationa
and suppressions were calculated to produce the effect of misleading the.employees so that they
would not associate any lung disease with occupational exposures on the job. As a result of these
misrepresentations and Biippressions, all defendants sought to prevent or limit occupational
disease claims by injured employees and claims from family members who also contracted
disease, These actions constitute fraud under Louisiana law. .

. / 23,

The health hazards of asbestos have been recognized by those in the business for two
thousand years, The Greek geographer Strabo and the Roman historian Pliny the Elder both
recognized asbestosis in slaves whose task was to weave asbestos into cloth. There is conclusive

' evidence (more specifically outlined below) that by the end of 1930, it was widely known in the
United States by those in the industry and their insurers that exposure to asbestos could cause -
asbestosis and cancer, that asbesto sis was a fatal disease, and that the latency period of asbestosis °
and other asbestos-related disease was of many years duration subsequent to initial exposure, yet
this knowledge was suppressed from workers like Hastie Verdoodt, and family members of
workers such as Kelly Giarratano. ,

. 24,
By the time Hughie Verdoodt began working with and around asbestos products, virtually

every state in the Unites States recognized asbestosis as a compensable claim under workers’

~8-
Case 2:22-cv-00088-WBV-DPC Document 1-1 Filed 01/14/22 Page 9 of 14

compensation laws. In fact, the Louisiana legislature in 1952, when it enacted its first Workers’ .
Compensation Occupational Disease Act, listed asbestosis as a compensable occupational
disease, Moreover, all companies with government contracts were bound to comply with health
and safety requirements of the Walsh Healey Public Contract Act first promulgated in 1936, as
well as the regulations of the U.S. Navy and U.S. Maritime Commission in 1943 as well as the
Louisiana Sanitary Cade’s Industrial Health standards in 1943. These standards addressed
asbestos hazards and asbestosis as a resultant disease of exposure to asbestos. They also required ~
isolation of dusty work, ventilation, use of respirators, and medical examinations by doctors. |
Despite this, Hughie Verdoodt and Kelly Giarratano, were never warned of any hazard associated
with asbestos, were never protected by use of adequate ventilation, and Hughie Verdoodt was
required to work with and around asbestos products. Despite the fact that all defendants were
aware of the hazards of asbestos and silica and other toxic substances to which Hughie Verdoodt
and Kelly Giarratano were exposed, they failed and refused to warn of these dangers and,
furthermore, concealed these hazards. Moreover, defendants suppressed and prevented the
‘dissemination of information relating to the hazards of asbestos, thus constituting fraud under
Louisiana law. Even after OSHA became the law in 1971, they were not warned of the health
hazards associated with exposure to asbestos.
25.

The acts of the defendants, as described above, constitute a fraudulent misrepresentation
and/or concealment which proximately caused the injuries to the Petitioners in the following
manner: -

. 1) The material published or caused to be published was false and
incomplete and that the defendants knowingly and deliberately ‘
deleted references to the known health hazards of asbestos and
asbestos-related products.

2) The defendants intended the publication of false and misleading
reports and/or the non-disclosure of documented reports of the
health hazards of asbestos:

a) To maintain a favorable atmosphere for the

continued sale and distribution and use of asbestos
and asbestos-related products;

b) To assist in the continued pecuniary gain of the
defendants through the sale of asbestos products to
an ignorant public;

c) To influence in the defendant's favor, legislation to

regulate asbestos exposures and unlimited medical
and disability claims for compensation;

d) To provide a defense against lawsuits brought for
injury resulting from asbestos disease;

€) To prevent relevant medical inquiry about asbestos
disease;
Case 2:22-cv-00088-WBV-DPC Documenti1-1 Filed 01/14/22 Page 10 of 14

pH To mislead the general public, and the Petitioner
herein, about the hazards associated with asbestos
products; and 1

g) To induce the Petitioner to use and continue to use
asbestos products. :

3) The Petitioners reasonably relied upon the published medical and

' scientific data documenting the purported safety of asbestos and
asbestos-related products, and the absence of published medical
and scientific reports on the hazards of asbestos’ and asbestos-
related products because Petitioner believed it to be safe.

4) Defendants, intended the Petitioner to rely upon the published
reports regarding the safety of asbestos and asbestos-related
products and upon the absence of published medical and ‘scientific

a - data regarding the hazards of asbéstos and asbestos-related
products, and therefore to continue their exposure to those
products.

5) Defendants are in a position of superior knowledge regarding the
health hazards of asbestos and therefore the Petitioner and others
deciding to use the said asbestos-containing products to which
Petitioner was exposed, had a right to rely on the published reports
commissioned by the defendants regarding the health hazards of
asbestos and the absence of published medical and scientific data
regarding the hazards of asbestos and asbestos-related products.

26.

Insurance premiums were set based on the risks posed by the insured. Insurance
companies discussed the hazards of asbestos with insured who manufactured, used, or distributed
asbestos products. Insurance field inspectors would survey the premises or operations of the
insured, advise the insured of the hazard, and set the premium accordingly. This was true prior
to the time that Hughie Verdoodt was first exposed to asbestos and continued throughout their

1
employment. The fact that workers’ compensation insurance carriers were concerned about
asbestos is evidenced by the 1932 occupational disease report in “The National Underwriter"
where asbestos was listed as a serious hazard receiving special attention "for some time" in
insurance underwriting. When the Supreme Court of North Carolina (MeNealy v, Carolina
Asbestos Co., May 23, 1934) determined that asbestosis was compensable under its workers’
compensation law, insurance executive F. R. Jones wrote that the McNeely case and others like it
injected elements of uncertainty that rendered the hazards of asbestosis "often uninsurable at
practicable rates."; he wrote that even though rates for those in the asbestos business were high,
"their adequacy ... is generally doubted." To avoid losing money, insurance companies instituted
a practice of servicing claims as well as providing the insurance--"sort of a right pocket to left
pocket...in other words there wasn't any way (insurance companies) could lose money on it."
(See deposition of Harry J. Flynn in Bradley v. Todd Shipyards. Inc., C.A. No. 85 - 05657, Div.
"D", Civil District Court for the Parish of Orleans.)

« 10
Case 2:22-cv-00088-WBV-DPC Document1-1 Filed 01/14/22 Page 11 of 14

+ Rds

27.

That all defendants and the companies that insured them knew of the health hazards
associated with exposure to asbestos since the 1930s (and suppressed this information) is shown °
by numerous documents and testimony. In fact, the knowledge was so well recognized in the .
asbestos industry that the insurance industry considered confessing liability; instead, they decided
to make it “economically impossible" for plaintiffs to pursue their claims. The minutes of
meetings in 1976 and 1977 of American Mutual Insurance“Alliance (an insurance industry
association) confirm that the hazards of asbestos exposure have been known for many years:
These minutes specifically state that medical research in 1900 linked:asbestos with asbestosis
and by 193 5 it was recognized that asbestos caused cancer. Ina memorandum of a meeting of a
discussion group dated April 21, 1977, it was stated: The meeting closed with a unanimous
rejection ofa suggestion that liability in asbestos cases be admitted and the carriers agreed *
between themselves as to their respective losses and expenses. That insurance companies and
their insureds were working together to discourage plaintiffs from pursuing valid claims is also '

’ demonstrated in earlier memos. In minutes dated May 22, 1974, discussing Borel v. Fibreboard
Paper Products Corporation, 493 F.2d 1076, (5th Cir. 1973), cert. denied, 419 U.S. 869 (1974),
it is stated: "The appeals court decision in the Borel case of course sets a very bad precedence
for our other pending asbestosis cases and (sic) this jurisdiction we will soon have to formulate a
‘game plan’ for the continued defense of these asbestosis cases with the other defendants." In

‘a memo dated October 22, 1974, it was decided that the asbestos defendants and their insurance
companies would resist pending cases "and attempt to make this economogially (sic) impossible
for the plaintiffs to pursue the other cases." These attempts to prevent and stifle valid claims by
plaintiffs shows that the defendants, to this day, are committing fraud.
. 28.

In addition to the IHF, there were other trade associations which — formed to aid and
service companies in the asbestos industry. Members of the Asbestos Textile Institute (AT),
founded on November 16, 1944, included companies which produced asbestos containing cloth
and other products, At the June 13, 1946, meeting of the Asbestos Textile Institute, a question
was posed as to whether or not a committee should be formed to deal with the question of dust
control. Beginning on June 13, 1946, a subcommitiee of the dust control committee of the
Asbestos Textile Institute recommended that the committee contact the United States
government, the state governments in which member plants were located, the Mellon Institute,

ye

-i1-
Case 2:22-cv-00088-WBV-DPC Document1-1 Filed 01/14/22 Page 12 of 14

and Metropolitan Life for the purpose of preparing a tentative program aimed at bringing to
_ member companies the assistance of qualified technical and medical people. In 1946, the ATI
was presented with a plan for a central medical committee which would call for individual
medical programs at all facilities using asbestos as well as a central medical department which
would be responsible to the association. Recommendations for initial medical examinations and
periodic follow-up examinations were also made. The recommendation for periodic medical
examinations was characterized by the presenting doctor as "fundamental in an industry where
there was a ‘known occupational health hazard". While the ATI enndlaered this proposal, it
nonetheless elected to defer the plan. During the late 1940's and early 1950's, the ATI was
presented with a number of other plans for wide ranging research on various a dealing with
asbestos-related disease in the asbestos industry. However, in some instances, the research
projects and proposals were discarded.
29.

Another trade organization was the National Insulation Manufacturers Association
("NIMA"), which formed in December of 1958 as a joint venture trade association to serve as a
voice for the mineral insulation industry. After 1958, pemonndl of Ruberoid/GAF (defendant
herein) attended most, if not all, NIMA meetings at which health hazards were frequently the
topic of formal discussions. NIMA members had unequivocal knowledge of the potential health
hazards posed by unprotected and prolonged exposure to excessive quantities of airborne ,
asbestos fiber. The testimony of Harry Kaufman, who came to Ruberoid in 1958 as Assistant
Director of Quality Control, admit knowledge of the potential health hazards to an unprotected
worker from exposure to asbestos fiber as far back as 1943 when he attended a five month course
at the University of Maryland on Industrial Safety.

30.

All defendants made the misrepresentations cited in the foregoing paragraphs despite
their knowledge of the falsity, and defendants fraudulently concealed and suppressed the truth
about the dangerous nature of the products with the intent to induce purchasers to buy the

products and innocent users and employees to continue to be exposed to same without concern

for their health,

t ~12-
Case 2:22-cv-00088-WBV-DPC Document1-1 Filed 01/14/22 Page 13 of 14

31
As a result of the aforementioned acts of all of the hereinabove named defendants, Kelly

Giarratano contracted asbestos-related lung cancer which was first diagnosed on approximately

 

August 12, 2021, for which all defendants are jointly, severally, and in solido liable.
. 32,
All of the hereinabove named defendants are jointly, severally, and in solido liable to
petitioner for the damages sustained as a result of Kelly Giarratano’s contraction of asbestos
related lung cancer and-other ill health effects related therewith. Petitioner, Kelly Giarratano, is
‘entitled to damages for the following: past, present, and future physical pain and suffering; past,
present and future mental pain and suffering; fear of cancer and fear of death and complications;
loss of enjoyment of life and lifestyle; reduction in life expectancy; past, present, and future loss
of income and loss of earning capacity; past, present, and future medical expenses; loss of
personal services, costs of care and assistance, costs of custodial care; inmifietion! frustration
and inconvenience caused by the defendants; and all other general damages arising out of this
action which may be shown at the trial of this matter.
WHEREFORE, petitioner, Kelly Giarratano, prays that the defendants named herein be '
duly cited to appear and answer, and that after all due proceedings are had, that there be
judgment rendered herein in favor of petitioner and against defendants for all damages suffered
by petitioner together with legal interest and all costs associated with the prosecution of this
claim. Petitioner further prays for all general and equitable relief.
Respectfully submitted,
ROUSSEL & CLEMENT

EROLYN P. ROUSSEL - 1134!
PERRY J. ROUSSEL, JR. - 20351
JONATHAN B, CLEMENT - 30444
LAUREN R. CLEMENT - 31106
BENJAMIN P. DINEHART - 33096
1550 West Causeway Approach
Mandeville, LA 70471

Telephone: '(985) 778-2733
Facsimile: (985) 778-2734
ATTORNEYS FOR PETITIONER,
KELLY GIARRATANO

   
     
 

2.13 -
Case 2:22-cv-00088-WBV-DPC Document1-1 Filed 01/14/22 Page 14 of 14

PLEASE SERVE THE PETITION FOR DAMAGES, OPPOSITION TO MOTION FOR

« EXTENSION OF TIME, NOTICE OF VIDEOTAPED DEPOSITION FOR ALL :
PURPOSES INCLUDING PERPETUATION PURPOSES, AND THE NOTICE OF
RECORDS DEPOSITION ON THE FOLLOWING:

1. HUNTINGTON INGALLS INCORPORATED
. (formerly NORTHROP GRUMMAN SHIPBUILDING, INC., >

formerly NORTHROP GRUMMAN SHIP SYSTEMS, INC.
formerly, AVONDALE INDUSTRIES, INC.
and formerly AVONDALE SHIPYARDS, INC,
and formerly, AVONDALE MARINE WAYS, INC,)
Through its agent for service of process: ‘E
CT Corporation System
3867 Plaza Tower Dr.
Baton Rouge, La. 70816

2. , LOUISIANA INSURANCE GUARANTY ASSOCIATION
. (ON BEHALF OF AMERICAN MUTUAL LIABILITY INSURANCE
COMPANY)
Through its agent for service of process:
Deidre Arceneaux
" 2142 Quail Run Drive
Baton Rouge, LA 70808 ° L

3. . JHE TRAVELERS INDEMNITY COMPANY ‘
: ‘Through its agent for service of process: .
Secretary of State
Legal Services Sections
8585 Archives Ave, -
Baton Rouge, La. 70809

4, CERTAIN UNDERWRITERS AT LLOYD'S, LONDON
' Through its agent for service of process:
Sécretary of State
\ Legal Services Sections
8585 Archives Ave.
Baton Rouge, La, 70809

5. PENNSYLVANIA GENERAL INSURANCE COMPANY
Through its agent for service of pro cess:
Secretary of State
Legal Services Sections
8585 Archives Ave.
Baton Rouge, La. 70809

-14-
